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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                         U.S. Magistrate Judge S. Kato Crews

  Civil Action No. 1:21-y-00065-WJM-SKC-1

  IN RE: GOVERNMENT SEIZURE OF ICX TOKENS,




  RECOMMENDATION RE: MOTION FOR RETURN OF PROPERTY [DKT. 1]
    AND MOTION FOR TEMPORARY RESTRAINING ORDER [DKT. 18]


        This Recommendation addresses Claimant Mark Shin’s Motion for Return of

  Property or Probable Cause Hearing (“41(g) Motion”) [Dkt. 1] and Motion for a

  Temporary Restraining Order and Preliminary Injunction (“Motion for TRO”) [Dkt.

  18.] District Judge Martinez referred these motions to the magistrate judge. [Dkt. 5]

  and [Dkt. 24.] This Court has reviewed the motions and the related briefing. No

  hearing is necessary. For the following reasons, the Court recommends both motions

  be DENIED.

                                     BACKGROUND

        This case is one in a number regarding the ownership of certain crypto-assets

  after a crypto-currency system update went awry. 1 On August 13, 2020, the ICON


  1 The Court takes judicial notice of filings in cases related to the matter at hand,
  specifically, Mr. Shin’s pending state civil forfeiture and criminal cases, to wit, People
  v. Shin, 2021-cv-31394 (Eighteenth Judicial District, Colorado) (civil forfeiture), and
  People v. Shin, 2021-cr-1445 (Eighteenth Judicial District, Colorado) (criminal).
  Hansen v. Harper Excavating, Inc., 641 F.3d 1216, 1219 n.2 (10th Cir. 2011) (the court
  may take judicial notice of other courts’ files and records).
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  Network 2 (“ICON”) released an update to its crypto-currency system. See Affidavit of

  Special Agent Steve Bratten at ¶39, dated Aug. 12, 2021, filed in Mr. Shin’s state civil

  forfeiture case. The update, however, contained an error allowing “unauthorized

  minting of unlimited ICX [tokens] whenever users changed votes or selected a new

  delegate.” 3 Id. at ¶41. When Mr. Shin, a user of the ICON Network, discovered this

  error, on August 22, 2020, he voted/selected delegates 558 times resulting in minting

  13,957,157 ICX tokens. Id. at ¶¶44-46. Once the tokens were in his ICON wallet, Mr.

  Shin transferred the proceeds to 13 other wallets in other crypto-exchanges. Id. at

  ¶57.

         At issue are millions of dollars’ worth of Mr. Shin’s crypto-assets seized by the

  FBI in January 2021. The federal government originally initiated a complaint for civil

  forfeiture against these assets, but later declined to pursue forfeiture due to pending

  state criminal charges against Mr. Shin. [Dkt. 12, p.5.] The FBI has continued to

  possess these assets, however, due to a state-court warrant directing the FBI to

  “freeze and/or hold” the crypto-assets because they “were stolen/embezzled or would

  be material evidence in a subsequent criminal prosecution.” [Dkt. 22-1, p.4.]

         The state of Colorado also brought a related civil forfeiture action against Mr.

  Shin. In that case, it obtained a temporary restraining order requiring the crypto-




  2 ICON is a subsidiary of a Korean Finteach company founded in 2017. [Dkt. 1, p.6.]
  It is a decentralized user-controlled crypto-currency network that operates through
  community nodes and citizen nodes around the world. [Id.]
  3 ICX tokens are crypto-assets within the ICON Network. [Id.]


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  assets be placed in “the custody of the Arapahoe County Court and in the possession

  of the FBI” until further court order. See Mr. Shin’s state civil forfeiture case,

  Temporary Restraining Order dated Nov. 10, 2021. Now, Mr. Shin wants his money

  back. He seeks an order from this Court directing the return of these crypto-assets.

         A. Aftermath of the ICON Network Glitch

         After discovering the bug in its system, ICON released another software

  update on August 24, 2020, to fix the glitch. [Dkt. 1, p.13.] It then publicly claimed

  Mr. Shin stole his ICX tokens, and it demanded their return. [Id. pp.11-13.] ICON

  also notified the FBI and other crypto-exchanges of the alleged theft, which resulted

  in those exchanges freezing Mr. Shin’s assets. [Id.] In response, Mr. Shin filed a civil

  lawsuit in the Northern District of California on October 20, 2020. [Id. p.13.] In that

  pending case, among other claims, he seeks a declaratory judgment that the ICX

  tokens at issue belong to him. [Id. p.14.]

         B. Federal Court Proceedings

         While Mr. Shin pursued his civil matter in the Northern District of California,

  a federal criminal matter was just beginning. The FBI executed search and seizure

  warrants on various crypto-exchanges involving Mr. Shin. [Dkt. 12 ¶1.] As a result,

  multiple exchanges liquidated Mr. Shin’s accounts and remitted them to FBI-

  controlled crypto-currency wallets. [Id. ¶5.] Apparently, several exchanges remitted

  Mr. Shin’s assets, whether identified in the search warrants or not, resulting in

  overcollection. [Dkt. 1, p.16.]


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         Subsequently, the federal government initiated administrative forfeiture

  proceedings in January 2021. [Dkt. 12, ¶12.] On February 12, 2021, Mr. Shin filed an

  administrative claim in those proceedings asserting an interest in the seized assets.

  [Id. ¶13.] This halted the administrative forfeiture and, pursuant to 19 U.S.C. §§ 1608

  and 1610, the FBI forwarded the claims to the United States Attorney’s office in this

  district for the filing of a verified complaint in federal court. [Id. ¶14.]

         On May 10, 2021, the government filed a motion in the United States District

  Court for the District of Colorado requesting an additional sixty days to file the

  verified complaint for civil forfeiture. [Id. ¶16.] On May 12, 2021, Magistrate Judge

  Hegarty granted that motion giving the government until July 12, 2021, to file their

  complaint for forfeiture. [Id.] The same day, Mr. Shin filed this case seeking return

  of the seized crypto-assets under Fed. R. Crim. P. 41(g) and the Fifth Amendment

  Due Process Clause. [See generally Dkt. 1.] He also requests copies of the affidavits

  submitted to obtain the seizure warrants and seeks permission to file a suppression

  motion and a probable cause hearing regarding the crypto-assets seized without a

  warrant. [Id.]

         Meanwhile, in the federal civil forfeiture case, Mr. Shin filed a motion

  requesting the magistrate judge reconsider his order granting the government

  additional time to file their verified complaint. [Dkt. 15, p.7.] Judge Hegarty denied

  that motion. [Id.] Then, on July 12, 2021, the government filed a notice of declination,




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  declining to pursue civil forfeiture because of the state of Colorado’s pursuit of

  criminal charges against Mr. Shin. [Id. at 8.]

        C. State Court Proceedings

        On June 30, 2021, while this matter and the federal civil forfeiture action were

  pending in this district, a grand jury in the Eighteenth Judicial District

  (“Eighteenth”) indicted Mr. Shin on charges of (1) cybercrime over $1 million, (2) theft

  over $1 million, and (3) money laundering. [Dkt. 27-1.] On July 9, 2021, the chief

  judge of the Eighteenth signed a warrant directing the local FBI to freeze or hold all

  the crypto-assets it previously seized. [Dkt. 22-1.]

        As earlier noted, state civil forfeiture proceedings under C.R.S. § 16-13-302

  began on August 12, 2021, when the state filed a motion for TRO. The TRO was

  granted on November 10, 2021, requiring “the cryptocurrency, described in the

  caption be placed in the custody of the Arapahoe County Court and in possession of

  FBI until further order of the court. It shall be the responsibility of the proponent of

  any motion to vacate or otherwise affect this TRO to set the motion for hearing within

  the time prescribed by statute.” See Mr. Shin’s state civil forfeiture case, Order dated

  Nov. 10, 2021. Mr. Shin moved to vacate the TRO and dismiss the civil forfeiture

  action, and a hearing on that motion was held on January 20, 2022. This Court is

  unaware of the result of that hearing.

        In this case, on August 4, 2021, Mr. Shin filed a motion seeking a TRO and

  preliminary injunction “barring the federal government from transferring the seized


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  crypto-assets that are the subject of the 41(g) motion to the state of Colorado

  authorities” pending resolution of his 41(g) Motion. [Dkt. 18, p.1.] While the TRO

  Motion and the 41(g) Motion remained pending, Mr. Shin next filed a Motion to

  Suppress the seizure warrants and for the return of his seized crypto-assets. [Dkt.

  27, p.9.]

                                 LEGAL STANDARDS

         A. Rule 41(g)

         A person aggrieved by an unlawful search and seizure of property or by the

  deprivation of property may move for the property's return under Fed. R. Crim. P.

  41(g). Rule 41(g) is an equitable remedy available only to a claimant who can show

  irreparable harm and an inadequate remedy at law. Clymore v. United States, 164

  F.3d 569, 571 (10th Cir. 1999) (citing Floyd v. United States, 860 F.2d 999, 1003 (10th

  Cir. 1988). Rule 41(g) jurisdiction “should be exercised with caution and restraint.”

  United States v. Jeffs, No. 05-cr-00503-REB, 2006 WL 898112, at *1 (D. Colo. Apr. 4,

  2006) (citing Floyd, 860 F.2d at 1003).

         B. Temporary Restraining Order

         Federal Rule of Civil Procedure 65(a) and (b) govern preliminary injunctions

  and temporary restraining orders. Where, as here, “the opposing party has notice, the

  procedure and standards for issuance of a temporary restraining order mirror those

  for a preliminary injunction.” Emmis Commc’ns Corp. v. Media Strategies, Inc., No.




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  00-WY-2507CB, 2001 WL 111229, at *2 (D. Colo. Jan. 23, 2001) (citing 11A Charles

  Alan Wright, et al., Federal Practice and Procedure § 2951 (2d ed.1995)).

        Injunctive relief is an extraordinary remedy which should only be granted

  when the moving party clearly and unequivocally demonstrates its necessity. See

  Schrier v. Univ. of Colo., 427 F.3d 1253, 1258 (10th Cir. 2005). Granting such “drastic

  relief” is the exception rather than the rule. United States ex rel. Citizen Band

  Potawatomi Indian Tribe of Okla. v. Enter. Mgmt. Consultants, Inc., 883 F.2d 886,

  888-89 (10th Cir. 1989); GTE Corp. v. Williams, 731 F.2d 676, 678 (10th Cir. 1984).

  In the Tenth Circuit, a party requesting injunctive relief must clearly establish the

  following: (1) the party will suffer irreparable injury unless the injunction issues; (2)

  the threatened injury outweighs whatever damage the proposed injunction may cause

  the opposing party; (3) the injunction, if issued, would not be adverse to the public

  interest; and, (4) there is a substantial likelihood of success on the merits. United

  States ex rel. Citizen Band Potawatomi Indian Tribe of Okla., 883 F.2d at 889.

                                      DISCUSSION

        A. Jurisdiction

        The Court must first satisfy itself that it has jurisdiction over this matter. One

  of the essentials of in rem jurisdiction is that the property be within the court's

  jurisdiction at the time of suit. United States v. Wingfield, 822 F.2d 1466, 1471 (10th

  Cir. 1987) (citing 4 C. Wright & A. Miller, Federal Practice & Procedure § 1070, at

  270 (1969)). Release or removal of the property from the court’s control ends its


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  jurisdiction. Id. The only exceptions are when the property is released accidentally,

  fraudulently, or improperly. Id.

        Relevant here, there are limited circumstances where Rule 41(g) may be used

  to petition for the return of property held by state authorities. Clymore, 164 F.3d at

  571. They include actual federal possession of property forfeited by the state, or

  constructive federal possession where the property was considered evidence in a

  federal prosecution. Id. Here, because the state-issued TRO directs the crypto-assets

  to remain “in the possession of the FBI,” the Court concludes there is actual federal

  possession of the subject property seized by the FBI originally as part of a federal

  criminal investigation of Mr. Shin, and which remains in the FBI’s possession as

  property subject to forfeiture by the state. Therefore, this Court recommends finding

  federal court jurisdiction over this matter.

        B. Younger Abstention

        However, because “the prospect of undue interference with state proceedings

  counsels against federal relief[,]” the Court recommends denying Mr. Shin’s 41(g)

  Motion under the Younger abstention doctrine. Sprint Commc’ns, Inc. v. Jacobs, 571

  U.S. 69, 72 (2013); see also Younger v. Harris, 401 U.S. 37 (1971). Generally, federal

  courts are obliged to decide cases within the scope of their jurisdiction. Sprint

  Commc’ns, Inc., 571 U.S. at 72. The doctrine of abstention, where a district court may

  decline to exercise its jurisdiction, is an extraordinary and narrow exception to the




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  duty of a district court to adjudicate a controversy properly before it. Colorado River

  Water Conservation Dist. v. United States, 424 U.S. 800, 813 (1976).

        “Younger abstention dictates that federal courts not interfere with state court

  proceedings by granting equitable relief – such as injunctions of important state

  proceedings or declaratory judgments regarding constitutional issues in those

  proceedings – when such relief could adequately be sought before the state court.”

  Rienhardt v. Kelly, 164 F.3d 1296, 1302 (10th Cir. 1999). The doctrine applies where:

        (1) there is an ongoing state criminal, civil, or administrative
        proceeding, (2) the state court provides an adequate forum to hear the
        claims raised in the federal complaint, and (3) the state proceedings
        involve important state interests, matters which traditionally look to
        state law for their resolution or implicate separately articulated state
        policies.

  Chapman v. Oklahoma, 472 F.3d 747, 749 (10th Cir. 2006).

        This Court recommends finding all three Younger factors exist here. First, the

  state civil forfeiture action under C.R.S. § 16-13-302 is ongoing and, as noted below,

  several steps remain in that proceeding before Mr. Shin’s rights to his crypto-assets

  may be extinguished. 4 The fact the state matter started after the federal matter is

  irrelevant. See Hicks v. Miranda, 422 U.S. 332, 349 (1975) (“[W]here state criminal

  proceedings are begun against the federal plaintiffs after the federal complaint is filed

  but before any proceedings of substance on the merits have taken place in the federal




  4  Colorado’s civil forfeiture scheme under C.R.S. § 16-13-301 et seq. runs in
  conjunction with applicable state criminal laws and is “considered a cumulative right
  of the people in the enforcement of [criminal] laws.” C.R.S. § 16-13-302(1).
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   court, the principles of Younger v. Harris should apply in full force.”). Thus, the Court

   recommends finding the first Younger factor is established.

         Second, due to the nature of relief Mr. Shin seeks under his 41(g) Motion and

   Motion for TRO, the state court provides an adequate forum for such relief. For

   instance, Mr. Shin argues (in part) that because he has not committed a crime, the

   seizure warrants were unlawful entitling him to the equitable return of the crypto-

   assets under Rule 41(g) or the Fifth Amendment Due Process Clause. But he can

   make those same arguments to the state court; moreover, his guilt or innocence

   remains to be determined in the ongoing state criminal case.

         Further, in the state civil forfeiture case, that court granted the state of

   Colorado a TRO under C.R.S. § 16-13-308(1), which directs the seizure and holding,

   if previously seized, of proceeds traceable to a public nuisance act. C.R.S. § 16-13-

   308(1)(a)(II). A person like Mr. Shin, with an ownership interest adversely affected

   by the TRO, may file a motion to vacate the TRO. C.R.S. § 16-13-308(f). And Mr. Shin

   filed such a motion in those proceedings. Until the state court declares the property

   forfeited, the government has an interest in the property and the owner (Mr. Shin)

   retains legal title even though he may not have the right to possess it. Eggleston v.

   State of Colo., 636 F. Supp. 1312, 1322 (D. Colo. 1986). If forfeiture is later declared,

   the government’s interest is perfected, and the owner is deemed divested of the

   property as of the date it was seized. Id. But no judgment of forfeiture enters unless

   and until the owner of the property is convicted of the underlying offense. C.R.S. §


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   16-13-207(1.5). In the event Mr. Shin successfully defends himself against the

   criminal charges, the statute has procedures for the prompt return of his crypto-

   assets. C.R.S. § 16-13-307(1.6).

         For these reasons, the Court finds the state court proceedings (both the civil

   forfeiture action and the criminal case) provide an adequate forum for the relief

   sought by Mr. Shin’s motions before this Court. 5

         Regarding the third factor, undoubtedly the state’s interest in its forfeiture

   proceedings, which are quasi-criminal in nature, implicates important state interests.

   See Postscript Enterprises, Inc., v. Peach, 878 F.2d 1114, 1116 (8th Cir. 1989) (citing

   Huffman v. Pursue Ltd., 420 U.S. 592, 604 (1975)) (“Under the Younger abstention

   doctrine the federal courts must abstain from interfering with the efforts of states or

   local government to protect the very interests which underlie their criminal laws and

   to obtain compliance with precisely the standards which are embodied in their

   criminal laws.”) (internal quotations omitted); see also Jones v. Whittington, No. CIV-

   11-0861-HE, 2013 WL 4501343, at *3 n.2 (W.D. Okla. Aug. 21, 2013) (forfeiture

   actions constitute an important state interest under Younger because “the pending

   forfeiture proceeding, while civil, may be viewed as ‘in aid’ of criminal statutes


   5 Citing Bartkus v. Illinois, 359 U.S. 121 (1959), Mr. Shin argues the state court
   proceedings are a “sham” and should be given no credence by this Court. [Dkt. 26, p.
   10.] But the Bartkus exception is extremely narrow, rarely applied, and limited to
   situations involving clear manipulation of proceedings. United States v. Trammell,
   133 F.3d 1343, 1449-50 (10th Cir. 1998). Mr. Shin’s Bartkus argument is woefully
   underdeveloped and fails to satisfy his burden to show this matter falls within the
   limited “sham prosecution” exception.
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   addressing the same or similar conduct”). Accordingly, the Court recommends finding

   the third and final Younger factor is satisfied.

         C. Irreparable Harm

         To be sure, the Court finds Mr. Shin has not shown he will suffer irreparable

   harm without this Court’s intervention. See Weitzel v. Div. of Occupational and Pro.

   Licensing, 240 F.3d 871, 876 (10th Cir. 2001) (the Younger abstention doctrine is

   inapplicable where irreparable injury can be shown). Mr. Shin argues the value of

   the crypto-assets has decreased considerably during the time of the “government’s

   unlawful possession.” [Dkt.15, p.13.] Yet, purely economic loss is insufficient to

   constitute irreparable harm. Crowe & Dunlevy, P.C. v. Stidham, 640 F.3d 1140, 1158

   (10th Cir. 2011).

         Mr. Shin also argues the government’s continued retention of the crypto-assets

   unjustifiably interferes with his Fifth Amendment due process rights, thereby

   constituting a per se irreparable injury. [Dkt. 15, p. 13.] But “the threat to the

   plaintiff’s federally protected rights is only irreparable if it cannot be eliminated by

   defense against a single prosecution.” Weitzel, 240 F.3d at 876. Mr. Shin’s ability to

   raise his arguments in his state court proceedings, if not successfully defend himself

   there, eliminates the threat of forfeiture of his crypto-assets. Thus, any violation or




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   threat to his federal due process rights will be resolved in state court. As a result, Mr.

   Shin cannot show a per se irreparable injury. 6

         For all of these reasons, the Court recommends DENYING the 41(g) Motion

   based on Younger abstention.

         D. Motion for TRO

         Mr. Shin seeks a temporary restraining order and preliminary injunction

   preventing the federal government from transferring the crypto-assets to state

   authorities pending the resolution of his 41(g) Motion. [Dkt. 18, p. 1.] Based on this

   Court’s recommendation to deny the 41(g) Motion, the Court recommends the Motion

   for TRO be DENIED as moot. 7




   6 Younger aside, Mr. Shin’s inability to show irreparable harm, and the availability
   of an adequate remedy at law in state court further favors dismissing the 41(g) Motion
   (and the Motion for TRO) on its merits. See United States v. Akers, 215 F.3d 1089,
   1106 (10th Cir. 2000) (“[A] Rule 41(g) motion should be dismissed if the claimant has
   an adequate remedy at law or cannot show irreparable injury.”) (internal citations
   omitted).
   7 The parties have 14 days after service of this recommendation to serve and file any

   written objections in order to obtain reconsideration by the District Judge to whom
   this case is assigned. Fed. R. Civ. P. 72(b). The party filing objections must specifically
   identify those findings or recommendations to which the objections are made. The
   District Court need not consider frivolous, conclusive or general objections. A party’s
   failure to file such written objections to proposed findings and recommendations
   contained in this report may bar the party from a de novo determination by the
   District Judge of the proposed findings and recommendations. United States v.
   Raddatz, 447 U.S. 667, 676-83 (1980); 28 U.S.C. § 636(b)(1). Additionally, the failure
   to file written objections to the proposed findings and recommendations within 14
   days after being served with a copy may bar the aggrieved party from appealing the
   factual findings and legal conclusions of the Magistrate Judge that are accepted or
   adopted by the District Court. Thomas v. Arn, 474 U.S. 140, 155 (1985); Moore v.
   United States, 950 F.2d 656, 659 (10th Cir. 1991).
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   DATED: January 31, 2022.

                                           BY THE COURT:



                                           S. Kato Crews
                                           United States Magistrate Judge




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